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                  Exhibit 1




                    Exhibit 1
   CaseCase: 20-17442, 11/02/2021,
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                                 No. 20-17442

          IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT
_________________________________________________________________
                            SHANNON CARTER,
                               Plaintiff-Appellee,
                                       v.

                           SCHERRIE BEAN; et al.,
                            Defendants-Appellants,
                                      and

                      ROMER ARANAS; L. STEWART,

                              Defendants.
               ________________________________________

              On Appeal from the United States District Court
                        for the District of Nevada
                      No. 2:17-cv-01628-RFB-EJY
__________________________________________________________________
     DEFENDANTS-APPELLANTS’ NOTICE OF INTENT NOT TO
   PROSECUTE APPEAL FOLLOWING DISTRICT COURT RULING
__________________________________________________________________
                     AARON D. FORD (Bar No. 7704)
                              Attorney General
                   GREGORY L. ZUNINO (Bar No. 4805)
                          Deputy Solicitor General
                   Office of the Nevada Attorney General
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                      Attorneys for Defendants-Appellants
    CaseCase: 20-17442, 11/02/2021,
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      COMES NOW, Defendants-Appellants Scherrie Bean, Paul Bitar, Alberto

Buencamino, James Dzurenda, Jerry Howell, Jennifer Nash, and Brian Williams, by

and through counsel, Gregory L. Zunino, Deputy Solicitor General, hereby notify

the Court, pursuant to its Order dated January 7, 2021 (Dkt. 2), that Defendants-

Appellants do not intend to prosecute their appeal following the District Court’s

ruling on their Motion for Reconsideration (ECF No. 88). Accordingly, this matter

should be remanded to the District Court so that Plaintiff-Appellee’s outstanding

claims may proceed to trial.

      DATED this 2nd day of November, 2021.


                                            AARON D. FORD
                                            Attorney General

                                            By:/s/ Gregory L. Zunino
                                            GREGORY L. ZUNINO
                                            Deputy Solicitor General

                                            Attorneys for Defendants-Appellants




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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

     Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6

      Instructions for this form: http://www.ca9.uscourts.gov/forms/form17instructions.pdf

9th Cir. Case Number(s) 20-17442

The undersigned attorney or self-represented party states the following:

[X] I am unaware of any related cases currently pending in this court.

[ ] I am unaware of any related cases currently pending in this court other than the
    case(s) identified in the initial brief(s) filed by the other party or parties.

[ ] I am aware of one or more related cases currently pending in this court. The case
    number and name of each related case and its relationship to this case are:




Signature /s/ Gregory L. Zunino______________ Date November 2, 2021
(use “s/[typed name]” to sign electronically-filed documents)




                                               2
    CaseCase: 20-17442, 11/02/2021,
         2:17-cv-01628-RFB-EJY      ID: 12276270,
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                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

                            Instructions for this form:
             http://www.ca9.uscourts.gov/forms/form08instructions.pdf

9th Cir. Case Number(s) 20-17442

       I am the attorney or self-represented party.

       This document contains 83 words, excluding the items exempted by Fed. R.

App. P. 32(f). The brief’s type size and typeface comply with Fed. R. App. P.

32(a)(5) and (6).

       I certify that this brief (select only one):
[X] complies with the word limit of Cir. R. 32-1.
[ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

[ ] is an amicus brief and complies with the word limit of Fed. R. App. P. 29(a)(5),
   Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

[ ] is for a death penalty case and complies with the word limit of Cir. R. 32-4.

[ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
    only one):
       [ ] it is a joint brief submitted by separately represented parties;
       [ ] a party or parties are filing a single brief in response to multiple briefs; or
       [ ] a party or parties are filing a single brief in response to a longer joint brief.

[ ] complies with the length limit designated by court order dated _____________.
[ ] is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


Signature /s/ Gregory L. Zunino               Date November 2, 2021
(use “s/[typed name]” to sign electronically-filed documents)
                                         3
    CaseCase: 20-17442, 11/02/2021,
         2:17-cv-01628-RFB-EJY      ID: 12276270,
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                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

              Form 15. Certificate of Service for Electronic Filing

                           Instructions for this form:
            http://www.ca9.uscourts.gov/forms/form15instructions.pdf

9th Cir. Case Number(s) 20-17442

I hereby certify that I electronically filed the foregoing/attached document(s) on this
date with the Clerk of the Court for the United States Court of Appeals for the Ninth
Circuit using the Appellate Electronic Filing system.

Service on Case Participants Who Are Registered for Electronic Filing:
[ ] I certify that I served the foregoing/attached document(s) via email to all
registered case participants on this date because it is a sealed filing or is submitted
as an original petition or other original proceeding and therefore cannot be served
via the Appellate Electronic Filing system.

Service on Case Participants Who Are NOT Registered for Electronic Filing:
[ ] I certify that I served the foregoing/attached document(s) on this date by hand
delivery, mail, third party commercial carrier for delivery within 3 calendar days, or,
having obtained prior consent, by email to the following unregistered case
participants (list each name and mailing/email address):




Description of Document(s) (required for all documents):
 DEFENDANTS-APPELLANTS’ NOTICE OF INTENT NOT TO
 PROSECUTE APPEAL FOLLOWING DISTRICT COURT RULING




Signature _________________________________ Date November 2, 2021
(use “s/[typed name]” to sign electronically-filed documents)
                                          4
